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                                                                                             Exhibit B


                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF FLORIDA

                                  PENSACOLA DIVISION

JOHN NAVELSKI, LINDA NAVELSKI,

ERICK ALEXANDER, JACOB HUTCHINS,

AMBER HUTCHINS, JEANNE HENDERLY,

RICHARD BULLARD, and BEVERLY

BULLARD, on their own behalf and those


others similarly situated,


       Plaintiffs,


v.
                                                                  CASE     NO.       3-:14-cv-445
MCR/CJK


INTERNATIONAL PAPER COMPANY,


       Defendant.
                                                                                 /

                     [PROPOSED] COURT APPROVED LEGAL NOTICE


 THIS IS NOT NOTICE OF A LAWSUIT AGAINST YOU.COURT                          APPROVED
                     LEGAL NOTICE OF CLASS ACTION
THIS IS NOT NOTICE OF A LAWSUIT AGAINST YOU. The purpose of this notice (the
“Notice”) is to advise you of a class-action lawsuit against International Paper Company (“IP”).
This Notice is being sent to you because property records show that you may be a class member.
If you are a member of the following class, you are one of the participants on whose behalf the
lawsuit was brought and this notice applies to you:
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               All persons who, as of April 29, 2014, owned real property in the
               Bristol Park, Bristol Woods, Bristol Creek, or Ashbury Hills
               Subdivisions in Cantonment, Florida.


This Notice describes the case in general and does not address all of the issues in detail.


WHAT IS THIS LAWSUIT ABOUT?WHAT IS THIS LAWSUIT ABOUT? The
Representative Plaintiffs sued IP claiming they experienced flooding during a rainstorm on April
29-30, 2014, and that the flooding was caused by the failure during the storm of the structure
sometimes referred to as the Kingsfield Road Dam, which was located on IP’s Cantonment Mill.
The Representative Plaintiffs claim the Dam failed because IP did not properly maintain or remove
it. The lawsuit includes claims of negligence, trespass, nuisance, and strict liability against IP
relating to the collapsefailure of the Dam.


IP denies it is liableresponsible for the flooding that the Representative Plaintiffs and other
members of the class experienced; rather, IP contends the flooding was caused by the rainfall that
occurred during the April 29-30 storm.


Additional information about the lawsuit is available at www.flnd.uscourts.gov/314-cv-445. You
are encouraged to access this web site to learn more about the case.
WHAT WILL BE DECIDED IN THE CLASS TRIAL? Chief Judge M. Casey Rodgers of the
United States District Court for the Northern District of Florida has granted class action status to
a lawsuit brought on behalf of owners of real property as of April 29, 2014, in the Bristol Park,
Bristol Woods, Bristol Creek, or Ashbury Hills Subdivisions in Cantonment, Florida. If you are a
member of (the “Class Area”). The court’s class, you are one of the participants on whose behalf
the lawsuit was brought and this notice action certification applies to you:


               only through a decision on All persons who, as of April 29, 2014,
               owned real property in the Bristol Park, Bristol Woods, Bristol
               Creek, or Ashbury Hills Subdivisions in Cantonment, Florida.


The Court has not decided whether IP did anything wrong or whetherhas legal responsibility for
the flooding was caused by the failure of the Kingsfield Road Dam.in the Class Area on April 29
- 30, 2014. There is no money available now, and no guarantee there will be. The Court has only
decided that the Representative Plaintiffs will be permitted to try to prove part of their case—
whether IP is liableresponsible for the failure of the Kingsfield Road Dam and, if so, whether IP
is liable to them and the other members of the class for the flooding experienced within the four
subdivisions identified in the class definition. Class Area—in a single trial on behalf of all class
members. The liability jury will only determine whether or not all of the flooding experienced by
Plaintiffs was caused by the failure of the Kingsfield Road Dam. If the evidence presented at the
liability trial leads the jury to conclude that the Dam failure did not cause any of the flooding in


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the subject neighborhoods, or that it caused some but not all of the flooding, then Plaintiffs will
have failed to carry their burden and the matter will end. If the liability jury decides in Plaintiffs’
favor, then class members will have the opportunity to proceed with individual actions on the issue
of damages (i.e., the financial impact from the amount of water in each home).

This class trial will decide only the question whether IP does or does not have legal responsibility
to compensate class members for damages caused by the flooding; it will not address the amount
of damages, if any, caused by the flooding:

   •   If the Representative Plaintiffs are successful in proving that IP is liable to them and the
       other members of the class for the flooding, each class member will then be required to
       prove his or her damages, if any, that were caused by the flooding. in a separate
       proceeding. Class counsel will continue to represent class members after the liability
       phase, though you will no longer be a class member at that point and continue to have the
       right to retain your own counsel.

   •   If the Representative Plaintiffs are not successful in proving that IP is liable to them and
       the other class members for the flooding, class members will not receive any money and
       will not be permitted to bring their own individual claims against IP for damage caused by
       the failure of the Kingsfield Road Dam. The Court has not set a date for trial, and there is
       no way to predict when the case will be concluded.


The Court has set a trial on the class issues to begin on February 20, 2018, and the trial is scheduled
to conclude by March 2, 2018.

WHO ARE THE REPRESENTATIVE PLAINTIFFS? The court-approved Representative
Plaintiffs, John Navelski, Linda Navelski, Erick Alexander, Jacob Hutchins, Amber Hutchins,
Jeanne Henderly, Richard Bullard, and Beverly Bullard, owned real property as of April 29, 2014,
in the Bristol Park, Bristol Woods, Bristol Creek, or Ashbury Hills Subdivisions in Cantonment,
Florida.Class Area. These Representative Plaintiffs serve as the representatives for the class and
are responsible for ensuring that decisions in the lawsuit are in the best interests of the class.

WHO ARE THE CLASS COUNSEL? The Court has appointed James L. Kauffman and
Jonathan R. Marshall of the law firm Bailey & Glasser LLP, Jeremiah J. Talbott of the Law Office
of J.J. Talbott, P.A., and Christopher M. Vlachos of Vlachos Injury Law, P.A. as class counsel.



HOW IS CLASS COUNSEL BEING PAID? Class Counsel are representing you and the rest of
the Class on a contingent fee basis and advancing all costs of the litigation on behalf of the Class,
the reimbursement of which is also contingent on the outcome of the case. If money damages are
obtained for you, Class Counsel will submit a fee request to the Court requesting reimbursement
of litigation expenses and a percentage of the recovery to be determined at the discretion of the
Court. In no event will Class Counsel request an attorney’s fee that exceeds one third (33.33%) of
any recovery obtained by you or the class.




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                YOUR LEGAL RIGHTS AND OPTIONS IN THIS LAWSUIT
DO                Stay in this lawsuit. Await the outcome.
NOTHINGDO
NOTHING
                  By doing nothing, you keep the possibility of getting money or benefits that
                  may come from a trial or a settlement of the pending case. But, you give up
                  any rights to sue IP separately about the claims asserted in this lawsuit, and you
                  will be bound by the outcome of the Lawsuit.
ASK TO BE   Get out of this lawsuit. Drop your claims completely, or pursue your
EXCLUDEDASK claims with your own lawyer.
TO BE
EXCLUDED If you ask to be excluded, you keep any rights to sue IP separately about the legal
            claims asserted in this lawsuit at your own expense, but you lose the benefits, if
            any, attained by the Representative Plaintiffs in the Lawsuit.




   •• Your options are explained in this notice. If you want to be excluded from the Class, you
      must either mail the notice administrator a letter or card indicating your wish to be excluded
      at the address: Epperly Re:Solutions, 122 Capitol Street, Suite 201, CharlestonP.O. Box
      849,       Hurricane,        WV       2530125526         or      send      an     email      to
      davidepperly@frontier.com.davidepperly@frontier.com. To be excluded, you must send
      an email or have your letter postmarked on or before ________ ( [notice administrator
      to insert a date that is forty-five (45) days after the date the Class Notice was mailed).].


   •• The Class’s lawyers must prove the claims against IP at a trial. If they do not prove those
      claims, then there will be no money or benefits obtained from IP for the members of the
      Class and members of the Class will not be permitted to bring their own individual claims
      against IP for damage caused by the failure of the Kingsfield Road Dam. If the jury finds
      that IP is liable to the class, then the Court will establish a process for each class member
      to prove his or her damages, if any, that were caused by the failure of the Kingsfield Road
      Dam.


   •• If any money is recovered from IP, a portion of the recovery may be used to cover the
      necessary and reasonable costs of this suit, including such attorney’s fees as the Court
      approves.


   •• You do not need to hire your own lawyer because Class Counsel is working on your behalf.
      But, if you want your own lawyer, you will have to pay that lawyer. For example, you can
      ask him or her to appear in Court for you if you want someone other than Class Counsel to
      speak for you.



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                               GETTING MORE INFORMATION


You      can     review      the     case   file   online     at   https://ecf.flnd.uscourts.gov/cgi-
bin/login.pl.https://ecf.flnd.uscourts.gov/cgi-bin/login.pl. Please note that you will need to obtain
a Login ID and Password.                  You may obtain a Login ID and Password at
http://pacer.psc.uscourts.gov.http://pacer.psc.uscourts.gov. Information is also available on the
Court’s      website      at     http://www.flnd.uscourts.gov/[insert    specific     web     address
information].http://www.flnd.uscourts.gov/314-cv-445. Additionally, you may contact Class
Counsel at the telephone number below or by writing to Class Counsel at the address provided
below.

                     CONTACT INFORMATION FOR CLASS COUNSEL

                     The contact information for Class Counsel is as follows:


James L. Kauffman
Jonathan R. Marshall
BAILEY & GLASSERBAILEY & GLASSER LLP
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Washington, DC 20007
Telephone: (202) 463-2101


Jeremiah J. Talbott
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Christopher M. Vlachos
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Pensacola, FL 32501
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DO NOT ADDRESS QUESTIONS ABOUT THE LAWSUIT TO
THE CLERK OF THE COURT OR TO THE JUDGE.


DATED: ____________,       , 2017

By order of Chief Judge M. Casey Rodgers of the United States District Court for the
Northern District of Florida




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